                     Case 3:21-cv-07583-WHO Document 57 Filed 05/18/22 Page 1 of 5




       1   KUANG-BAO P. OU-YOUNG
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       3   Sunnyvale, California 94087
       4   (408) 234-2371                                                                      MAY 18 2022
       5   kbouyoung@yahoo.com
       6                                                                                                       -
                                                                                         CLERK, U.S. DISTRICT CO URT
       7   Plaintiff-Intervenor Applicant Pro Se                                        NORTH DISTRICT OF CALIFORNIA
       8
       9                                UNITED STATES DISTRICT COURT
      10                               NORTHERN DISTRICT OF CALIFORNIA
      11                                   SAN FRANCISCO DIVISION
      12
      13   DANIEL CHUNG,                                     )       Case No. 21-cv-7583-WHO
      14                                                     )
      15             Plaintiff,                              )       PLAINTIFF-INTERVENOR
      16                                                     )       APPLICANT'S NOTICE OF MOTION
      17       vs.                                           )       AND MOTION TO INTERVENE, TO
,.. / 18                                                     )       DISQUALIFY JUDGE AND COUNSEL,
V     19
      20
           COUNTY OF SANTA CLARA, et al.,                    )
                                                             )
                                                                     TO SUSPEND ELECTION, AND FOR
                                                                     ORDER TO SHOW CAUSE
      21             Defendants,                             )
      22                                                     )      Date: June 22, 2022
      23   KUANG-BAO P. OU-YOUNG,                            )      Time: 2:00 p.m.
      24                                                     )      Courtroom 2, 1ih Floor
      25             Plaintiff-Intervenor Applicant.         )      Judge: To Be Determined
      26
      27

     28                                   NOTICE OF MOTION AND MOTION

     29    TO PLAINTIFF, DEFENDANTS, AND THEIR COUNSEL OF RECORD:

     30              PLEASE TAKE NOTICE that on June 22, 2022, at 2:00 p.m., or as soon thereafter as

     31    the matter may be heard, in Courtroom 2, 1ih Floor, San Francisco Courthouse, located at 450

     32    Golden Gate Avenue, San Francisco, California, applicant Kuang-Bao P. Ou-Young will, and

     33    hereby does move, for the court's permission to intervene in the present action, to disqualify

     34    district judge William H. Orrick and counselor Claire T. Cormier from this case, to suspend

     35    election of Santa Clara County district attorney to be held later this year, and for an order to

     36    show cause against both judge Orrick and counselor Cormier. The motion to intervene is based

     37    on Federal Rule of Civil Procedure 24(a)(l), 42 U.S.C. § 547(1), this notice of motion and


                      Plaintiff-Intervenor Applicant's Motion to Intervene, to Disqualify Judge and Counsel,
                      to Suspend Election, and for Order to Show Cause Case No. 2 l-cv-7583-WHO 1 of 4
                Case 3:21-cv-07583-WHO Document 57 Filed 05/18/22 Page 2 of 5




 1      11motion,the memorandum of points and authorities set forth below,the pleadings and records on

 2 II file in this case,and such further evidence and argument as the court may consider at the time of

 3 II hearing on this motion.

 4 II                       MEMORANDUM OF POINTS AND AUTHORITIES

 5 II           A. Judge Orrick Has Deprived Applicant of Substantive Civil Rights

 6 11           Santa Clara County brought a civil action to this court against the Trump administration

 7 II on February 3,2017 (Case No. 17-cv-574-WHO). Applicant then moved to intervene in said

 8 II case on March 29,2017. Dkt. No. 84. On April 3,2017,judge Orrick denied the motion without

 9      11a hearing. Dkt. No. 85. Yet "due process requires an opportunity to confront and cross-examine

10 II adverse witnesses." Goldberg v. Kelly, 397 U.S. 254,269 (1970). Hence saidjudge has denied

11 II applicant the First Amendment right to petition the government for a redress of grievances,due

12 II process of law under the Fifth Amendment,the Seventh Amendment right to ajury trial,and

13 II equal protection of the laws under the Fourteenth Amendment. Judge Orrick is criminally liable

14 II under 18 U.S.C. § 242. United States v. Price, 383 U.S. 787,793 (1966); Bivens v. Six Unknown

15 II Named Agents ofFederal Bureau ofNarcotics, 403 U.S. 388 (1971). As ajudge is not absolutely

16 II immune from criminal liability,Ex parte Virginia,100 U.S. 339,348-349 (1880),the presiding

17 II judge should be disqualified from the present case.

18 II          B. Counselor Cormier Has Conspired to Deny Applicant of Substantive Civil Rights

19 II           On September 25,2013,applicant brought a complaint to this court (Case No. 13-cv-

20      114442-EMC). On November 15,2013,then U.S. attorney Melinda Haag and counselor Cormier

21 II moved to dismiss said case. Dkt. No. 24. District judge Edward M. Chen dismissed the case on

22 II December 20,2013 without a hearing. Dkt. No. 40. But "due process requires an opportunity to

23 II confront and cross-examine adverse witnesses." Goldberg v. Kelly. Accordingly,counselor

24 II Cormier has conspired with judge Chen to deny applicant the First Amendment right to petition


                 Plaintiff-Intervenor Applicant's Motion to Intervene, to Disqualify Judge and Counsel,
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                 Case 3:21-cv-07583-WHO Document 57 Filed 05/18/22 Page 3 of 5




 1 II the government for a redress of grievances,due process of law under the Fifth Amendment,the

 2 II Seventh Amendment right to ajury trial,and equal protection of the laws under the Fourteenth

 3 II Amendment. Said counselor is criminally liable under 18 U.S.C. § 242. Price; Bivens. Acting as

 4 II advocate for the government,counselor Cormier lacks absolute immunity from criminal liability.

 5 II Kalina v. Fletcher, 552 U.S. 118 (1997); Bivens. Thus,said counselor should be disqualified

 6 II from the present case.

 7 II           C. Defendant Rosen Has Abused Prosecutorial Discretion as County DA

 8 II           On August 20,2020, Santa Clara County DA's office instituted a criminal action against

 9   11   James Jensen, Harpaul Nahal,Michael Nichols,and Christopher Schumb at Santa Clara County

10 II Superior Court (Case No. C2010724) because of their alleged criminal offenses in fundraising

11 II against the 2018 re-election of sheriff Laurie Smith. However,sheriff Smith issued a statement

12 II on March 10,2022 announcing plans to retire in January next year at the end of sixth term. The

13 II announcement acknowledges that defendant Rosen has abused prosecutorial discretion as Santa

14 II Clara County district attorney. More importantly,said defendant is not absolutely immune from

15 II criminal liability. Kalina. Due to his candidacy for county district attorney in the election to be

16 II held later this year,the court should suspend such election unless defendant Rosen withdraws.

17 II           D. Both Judge Orrick and Counselor Cormier Should Face Criminal Prosecution

18 II           Since 28 U.S.C. § 547(1) requires U.S. attorney Stephanie M. Hinds to prosecute for all

19 II offenses against the United States,the court should order said U.S. attorney to show cause why

20 II her office should not institute criminal prosecution against eitherjudge Orrick or counselor

21   11   Cormier.

22




                  Plaintiff-Intervenor Applicant's Motion to Intervene, to Disqualify Judge and Counsel,
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 1                                             CONCLUSION

 2          Based on the above arguments,the court should disqualifyjudge Orrick and counselor

 3   Cormier from the present action,suspend this year's election of Santa Clara County district

 4   attorney unless DA Rosen withdraws, and order U.S. attorney Hinds to show cause why either

 5   judge Orrick or counselor Cormier should not face criminal prosecution by her office.

6           Respectfully submitted this 18th day of May 2022.


             l�-ii-rMJ ��
 7
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13
14          Plaintiff-Intervenor Applicant




              Plaintiff-Intervenor Applicant's Motion to Intervene, to Disqualify Judge and Counsel,
              to Suspend Election, and for Order to Show Cause Case No. 2 1 -cv-7583-WHO 4 of 4
      Case 3:21-cv-07583-WHO Document 57 Filed 05/18/22 Page 5 of 5




                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION

Daniel Chung,                                 )
                                              )
                       Plaintiff,             )              Case No. 21-cv-7583-WHO
                                              )
               vs.                            )              PROOF OF SERVICE
                                              )
County of Santa Clara, et al.,                )
                                              )
                       Defendants.            )


This is to certify that a true and correct copy of the following document:

   Plaintiff-Intervenor Applicant's Motion to Intervene, to Disqualify Judge and Counsel, to
   Suspend Election, and for Order to Show Cause

was delivered by first class mail to the following:

James McManis
Abimael J. Bastida De Jesus
Christopher Andrew Rosario
50 W. San Fernando Street,10th Floor
San Jose, CA 95113

Claire T. Cormier                                     Xavier Mark Brandwajn
70 W. Hedding Street, East Wing, 9th Floor            1950 University Avenue, 5th Floor
San Jose, CA 95110                                    East Palo Alto, CA 94303




Date: May 18, 2022
                                                      YuLin Lu
                                                      820 Muloer'ryLane
                                                      Sunnyvale, CA 94087
